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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    UNITED THERAPEUTICS                    )
    CORPORATION,                           )
                                           )
                         Plaintiff,        )
                                           )
          v.                               ) C.A. No. 20-755 (RGA) (JLH)
                                           )
    LIQUIDIA TECHNOLOGIES, INC.,           )
                                           )
                         Defendant.        )


    UTC’S ANSWERING BRIEF IN OPPOSITION TO LIQUIDIA’S MOTION FOR STAY


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    September 23, 2022
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   I.      INTRODUCTION

           Liquidia’s request for a “stay of enforcement” of ¶ 4 of the final judgment (D.I. 436) should

   be denied as inconsistent with the statute, federal regulations, and rules.

           First, there is no authority holding that the order required by 35 U.S.C. § 271(e)(4)(A)—as

   opposed to an equitable injunction—can be stayed pending appeal. As this Court recognized

   shortly before Liquidia’s motion, § 271(e)(4)(A) creates a “non-discretionary” remedy UTC is

   entitled by statute. D.I. 432 at 1. The statute is clear that, upon a finding of infringement in such a

   case, “the court shall order the effective date of any approval of the drug … involved in the

   infringement to be a date which is not earlier than the date of the expiration of the patent which

   has been infringed[.]” 35 U.S.C. § 271(e)(4)(A) (emphasis added). This statutory remedy is distinct

   from the “injunctive relief [that] may be granted” under the statute. 35 U.S.C. § 271(e)(4)(B). The

   federal regulations are consistent, specifying that the FDA may not approve the NDA for a product

   found to infringe unless and until the Federal Circuit issues a mandate finding invalidity,

   unenforceability, or non-infringement—or until after the date identified in the court’s

   § 271(e)(4)(A) order. 21 CFR § 314.107(b)(3)(iii), (iv). Liquidia has not provided any valid reason

   justifying its extraordinary request to stay the remedy Congress chose nor any authority where a

   court has relied on Fed. R. Civ. P. 62 (“Rule 62”) to do so. Liquidia’s motion should be denied on

   this basis alone.

           Second, Liquidia’s motion is inconsistent with the text of the rule. Rule 62—the purported

   basis for Liquidia’s motion—permits a stay “[w]hile an appeal is pending from [the] … final

   judgment that grants … [the] injunction.” Fed. R. Civ. P. 62(d). Yet Liquidia requests a stay tied

   to a hypothetical appeal from an administrative decision from a different tribunal.

           Even if the Court were to consider the factors typically analyzed when deciding whether

   to stay an injunction, all four factors mandate denial of the stay. Liquidia spends not a single


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   sentence addressing the first factor—likelihood of success—and why it contends this Court’s

   conclusions are likely to be reversed on appeal. Instead, Liquidia argues that it will prevail in a

   separate matter that is not on appeal and remains pending before the Patent Trial and Appeal Board

   (“PTAB”). Liquidia has failed to make any showing, let alone a “strong showing,” of likelihood

   of success in its appeal of this Court’s trial opinion and final judgment.

          Nor can Liquidia meet the second factor: irreparable harm absent a stay of the judgment.

   Liquidia failed to prevail on its ’793 non-infringement and invalidity arguments before this Court.

   Paragraph 4 of the Court’s Judgment is the statutory remedy that Congress provided for that result.

   Imposing that remedy fulfills Congressional intent and does not represent irreparable harm.

   Novartis Pharms. Corp. v. Accord Healthcare Inc., 2020 WL 8187586, at *4 (D. Del. Dec. 10,

   2020) (“fulfilling congressional intent will not irreparably harm [the movant]”). Any harm

   allegedly experienced by Liquidia is also of its own making. Liquidia could have sought a stay of

   this case during the pendency of the IPR proceedings or initiated the IPR earlier in this case but

   elected not to do so. The Court should not countenance Liquidia’s efforts to reverse course.

   Furthermore, Liquidia relies on the nonsensical stance that it will lose goodwill with patients it

   does not currently serve by not being able to sell a product it does not currently sell. Liquidia’s

   other factual arguments are simply irrelevant to whether Liquidia will suffer irreparable harm.

          UTC, on the other hand, would be substantially injured by a stay. Not only would a stay

   deprive UTC of its statutory remedy under § 271(e)(4)(A)—which alone is substantial injury—it

   would also negatively impact UTC’s market share and goodwill with patients. To be clear,

   Liquidia aims to launch its infringing product at the first available opportunity and compete

   directly with UTC in the marketplace. See, e.g., Endo Pharms., Inc. v. Amneal Pharms., LLC, 2016

   WL 1732751, at *5 (S.D.N.Y. Apr. 29, 2016) (“Competition is logically tied to injury, since




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   directly competitive companies are most likely to be rivals for market share, sales, customers,

   profits, business opportunities, goodwill, and brand power.”); Polymer Techs., Inc. v. Bridwell,

   103 F.3d 970, 975-76 (Fed. Cir. 1996) (“Competitors change the marketplace. Years after

   infringement has begun, it may be impossible to restore a patentee’s … exclusive position by an

   award of damages and a permanent injunction.”). These injuries decisively tip the third factor

   against entering a stay.

          The public interest—the fourth factor—also favors denying a stay. The public interest

   benefits from enforcement of the Hatch-Waxman Act, which reflects Congress’s careful balancing

   of interests relating to drug innovation, patents, and generic drugs. See Janssen Pharmaceutica,

   N.V. v. Apotex, Inc., 540 F.3d 1353, 1361 (Fed. Cir. 2008) (“[T]he Hatch–Waxman Act struck a

   careful balance between encouraging the development of new drugs and enabling the marketing

   of low-cost generic drugs.”). Moreover, pulmonary hypertension patients already have several

   options for treatment, including an inhaled dry powder treprostinil product (UTC’s Tyvaso DPI®

   product, which launched in June 2022). There is no strong public interest in a second, yet-to-be-

   approved or marketed dry powder formulation of treprostinil, and Liquidia’s motion fails to allege,

   let alone prove, any such interest.

          Liquidia’s proposed stay of the statutory remedy is inconsistent with the relevant statute,

   is unsupported by the rule on which Liquidia relies, and is not justified even if the Court were to

   examine the traditional injunction factors. Liquidia’s request should be denied.

   II.    UTC IS ENTITLED TO ITS NON-DISCRETIONARY REMEDY UNDER
          SECTION 271(e)(4)(A)

          Liquidia’s requested relief is unavailable for two independent reasons. First, ¶ 4 of the

   Judgment is an order required by statute and is not an injunction that can be suspended under Rule

   62. Compare § 271(e)(4)(A) (requiring an order barring approval) with § 271(e)(4)(B) (permitting



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   injunctive relief); see also 21 CFR § 314.107(b)(3)(iii). Second, Rule 62 permits staying an

   injunction “[w]hile an appeal is pending from [the] … final judgment that grants … [the]

   injunction.” Fed. R. Civ. P. 62(d) (emphasis added). The rule provides no basis to stay a judgment

   pending the outcome of a future appeal in an entirely separate case before a different tribunal.

          A.      Paragraph 4 of the Judgment Is Required By 35 U.S.C. § 271(e)(4)(A) and
                  Cannot Be Stayed Under Rule 62

          Section 271(e)(4)(A) provides a mandatory statutory remedy. Liquidia’s equitable

   arguments—which, in any event, are flawed as discussed below—do not override Congress’s

   express instruction that the court “shall order” a post-expiration effective approval date upon

   finding infringement in a pre-launch case like this one. 35 U.S.C. § 271(e)(4)(A). As the Federal

   Circuit has stated, “upon a finding of patent infringement under § 271(e)(2), the district court must

   order remedies in accordance with § 271(e)(4).” Vanda Pharms. Inc. v. West-Ward Pharms. Int’l

   Ltd., 887 F.3d 1117, 1138 (Fed. Cir. 2018) (emphasis added); Kingdomware Techs., Inc. v. United

   States, 579 U.S. 162, 171 (2016) (“Unlike the word ‘may,’ which implies discretion, the word

   ‘shall’ usually connotes a requirement.”); Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach,

   523 U.S. 26, 27 (1998) (use of the “mandatory” term “shall” “normally creates an obligation

   impervious to judicial discretion”).

          Liquidia chose to avail itself of the procedures of the Hatch-Waxman Act that it now seeks

   to stay. Liquidia chose to file its new drug application under Section 505(b)(2) of the Federal Food,

   Drug and Cosmetics Act, 21 U.S.C. § 355(b)(2), so that it could rely on UTC’s clinical data and

   shortcut the typical drug approval process. That choice triggered application of the other provisions

   of the Hatch-Waxman Act. See D.I. 439. Consistent with the Hatch-Waxman statutory framework,

   Liquidia submitted a Paragraph IV certification regarding the ’793 patent. D.I. 433 at 2. That

   certification was a technical act of infringement supporting this Court’s jurisdiction. Following a



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   trial on the merits, this Court found the ’793 patent not invalid and infringed. D.I. 433 at 44-45,

   48, 53. Thus, the procedures and remedies in § 271(e) apply. Vanda, 887 F.3d at 1138 (“Section

   271(e)(4) contains no carve-out for patents that issue after the date of submission of the original

   ANDA.”); see also In re Omeprazole Pat. Litig., 536 F.3d 1361, 1367 (Fed. Cir. 2008) (“If the

   FDA has not approved the ANDA before the district court determines that the patent has been

   infringed, the FDA may not approve the ANDA until the effective date specified by the district

   court under section 271(e)(4)(A).”). Indeed, shortly before Liquidia’s motion, this Court expressly

   held that the remedy provided in § 271(e)(4)(A) is a “non-discretionary” remedy to be applied

   following the Court’s conclusion that Liquidia will infringe a valid UTC patent. D.I. 432 at 1-2

   (“If I find that the ’793 patent is valid and infringed, UTC is entitled to a non-discretionary

   injunction delaying final FDA approval.” (citing 35 U.S.C. § 271(e)(4)(A)). That non-

   discretionary order under § 271(e)(4)(A) stands in contrast to the discretionary injunctive relief

   that “may” be granted under § 271(e)(4)(B) using traditional equitable principles.

          Liquidia’s own public statements demonstrate that it recognizes the Court was required to

   enter ¶ 4 of its final judgment and issue an injunction pursuant to § 271(e)(4)(A). In a public call

   the day after the Court’s decision, Liquidia’s general counsel correctly stated, “We think the statute

   here requires … Judge Andrews … [to] issue an injunction based on the ’793 [patent].” Ex. A at

   7. Liquidia also recognized in its press release on the Court’s decision that Liquidia’s “ability to

   seek final approval for [its product] will be contingent upon either the affirmation of the PTAB’s

   earlier decision in the inter partes review (IPR) regarding the ’793 patent or the reversal of Judge

   Andrews’ decision regarding the ’793 patent[.]” Ex. B at 1.

          Facing the clearly mandatory nature of § 271(e)(4)(A), it is no surprise that Liquidia cited

   no case law holding that Rule 62 permits a court to override that statute. Liquidia’s cases—




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   Standard Havens Prods., Inc. v. Gencor Indus., Inc., 897 F.2d 511, 512 (Fed. Cir. 1990) and E.I.

   DuPont de Nemours & Co. v. Phillips Petroleum Co., 835 F.2d 277, 278-79 (Fed. Cir. 1987)—

   involve discretionary injunctions entered in non-Hatch-Waxman cases using traditional equitable

   principles. This distinction is critical because an order under § 271(e)(4)(A) is a statutorily

   mandated remedy, whereas an injunction under § 271(e)(4)(B) or in non-Hatch-Waxman patent

   cases under § 283 is left to the court’s discretion. Pfizer Inc. v. Apotex Inc., 731 F. Supp. 2d 754,

   761 (N.D. Ill. 2010) (“[Section] 271(e)(4)(B), like § 283, states that courts may grant injunctions

   against the infringer to prevent the defendant from doing various things, including selling the drug

   or product at issue. Section 271(e)(4)(A), on the other hand, concerns the date of approval, not

   whether the injunction issues: it requires courts finding infringement to specifically order the

   approval date of the infringing drug to be after the patent’s expiration.”) (first emphasis in original,

   second emphasis added). This Court must abide by Congress’s instruction that it “shall order”

   Liquidia’s approval date to be not earlier than the expiration date of the ’793 patent.

          Liquidia’s equitable arguments also cannot contravene the applicable federal regulations.

   The Code of Federal Regulations states that if a district court finds infringement, and that judgment

   is appealed, “the 505(b)(2) application … may be approved on: … The date on which the mandate

   is issued by the court of appeals entering judgment that the patent is invalid, unenforceable, or not

   infringed (including any substantive determination that there is no cause of action for patent

   infringement or invalidity)[.]” 21 C.F.R. § 314.107(b)(3)(iii). And if the final judgment is not

   reversed, Liquidia’s application may not be approved until the date in the court’s § 271(e)(4)(A)

   order. 21 C.F.R. § 314.107(b)(3)(iv). Here, the Court found infringement of the ’793 patent and

   Liquidia either has already provided to the FDA, or must provide today, a copy of this Court’s

   final judgment and § 271(e)(4)(A) order. 21 C.F.R. § 314.107(e)(1)(vi), (e)(2) (requiring




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   submission of “any court order pursuant to 35 U.S.C. 271(e)(4)(A)” to the FDA “within 14 days

   of the date of entry by the court”). Section 271(e)(4)(A) and these federal regulations are

   mandatory and unambiguous: FDA may not approve Liquidia’s 505(b)(2) application until the

   date specified in ¶ 4 of the final judgment unless the Court’s decision is reversed on appeal.

          Given the unambiguous statutory and regulatory framework, this Court need not entertain

   Liquidia’s last-ditch attempt to reverse the outcome of its unsuccessful litigation strategy. Liquidia

   chose what arguments to make and what to waive before this Court. Liquidia knew that an IPR

   would not result in cancelled claims until appeals from the PTAB decision are exhausted or

   waived. E.g., D.I. 428 at 1-2; D.I. 433 at 36. Liquidia also knew this Court would be required to

   enter an order pursuant to § 271(e)(4)(A) for any asserted patent found to be valid and infringed.

   Liquidia could have maintained its ’793 patent obviousness arguments here instead of abandoning

   them at trial. But Liquidia chose to pursue them only in an IPR gambling that the PTAB’s laxer

   burden of persuasion was beneficial.1 Liquidia made a strategic choice to opt for a lower burden

   of persuasion, but that choice came with consequences, such as the need to resolve any appeal in

   advance of final FDA approval. Rule 62 provides no avenue to undo the effects of Liquidia’s

   litigation strategy, and even if it did, Liquidia should not be excused from its strategic choices.

          Granting the requested stay would also be inequitable. Liquidia’s requested stay would turn

   the statutory scheme on its head by placing Liquidia in a better position than before trial. Before



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     Liquidia’s motivation for pursuing the IPR is irrelevant, but Liquidia’s claim that the assignor
   estoppel defense drove it to file the IPR is specious. First, Liquidia filed its IPR petition in January
   2021, several months after the Court denied UTC’s motion to dismiss based on assignor estoppel
   in November 2020. Second, Liquidia filed IPR petitions against the ’066 and ’901 patents too,
   where assignor estoppel was not at issue. Further, as noted previously, Liquidia dropped its
   obviousness arguments on the ’793 patent only on the second day of trial. E.g., D.I. 428 at 3 (citing
   Trial (Vol. II) Tr. 598:7-24; D.I. 406 at i, 2). These strategic choices demonstrate that Liquidia
   filed the ’793 patent IPR to take advantage of the lower burden of proof in an IPR, not out of
   concerns about assignor estoppel or to streamline the proceedings.


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   trial, the 30-month stay prevented Liquidia from launching its infringing product. The parties

   presented their evidence and arguments at trial, including Liquidia’s non-infringement and

   invalidity defenses for the ’793 patent. And Liquidia lost on the ’793 patent. A § 271(e)(4)(A)

   order barring approval is the consequence of that loss. Liquidia’s motion seeks to selectively stay

   that order—effectively obtaining a win on the ’793 patent and retaining its win on the other

   patents—and therefore permit Liquidia to launch its product, which has been finally adjudicated

   as infringing. It makes no sense to permit such a launch where the statutory scheme—primarily

   the 30-month stay and the § 271(e)(4)(A) order—is designed to prevent launch until there is a final

   adjudication and to block launch if there is infringement. There is no equity in permitting Liquidia

   to selectively convert its loss to a win.

           B.      Rule 62 Does Not Permit a Stay Pending the Outcome of an Unrelated,
                   Hypothetical Appeal

           Liquidia seeks a stay of unprecedented duration: it asks that ¶ 4 of the Judgment be stayed

   pending not only the appeal from this Court, but also pending a separate potential future appeal

   from the PTAB. D.I. 439 at 1 (seeking a stay “before and during the pendency of appeal of the

   PTAB’s ’793 FWD”). Even if Rule 62 applies, it does not reach that far. Rather, it gives the Court

   the power to stay an injunction “[w]hile an appeal is pending from [the] … final judgment that

   grants … [the] injunction.” Fed. R. Civ. P. 62(d) (emphasis added). Liquidia has identified no rule

   or statute giving the Court the power to stay its judgment even after the judgment’s appeal is

   resolved. Nor would the court of appeals itself grant a stay that outlasts “the pendency of [the]

   appeal” and the issuance of the mandate. See Fed. R. App. P. 8(a) advisory committee’s note

   (1967). Liquidia’s request for a stay that outlasts all proceedings in this case regardless of the

   outcome has no basis in rule, statute, or precedent.




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   III.   THE TRADITIONAL STAY FACTORS WEIGH AGAINST A STAY

          To the extent the Court considers a stay notwithstanding the mandate in § 271(e)(4)(A),

   courts typically consider four factors when considering a stay: “(1) whether the stay applicant has

   made a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be

   irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure the other

   parties interested in the proceeding; and (4) where the public interest lies.” Standard Havens, 897

   F.2d at 512 (citation omitted). All of the factors weigh against Liquidia’s requested stay providing

   another independent basis to deny the motion.

          A.      Liquidia Failed to Show a Likelihood of Success on Appeal from This
                  Court’s Final Judgment

          The first factor considers whether Liquidia has made a “strong showing” of likelihood of

   success on appeal. Standard Havens, 897 F.2d at 512-513.2 It has failed to make any showing that

   it is likely to prevail in the appeal in this case, much less a “strong showing,” and instead

   mistakenly relies on another ongoing administrative proceeding.

                  1.      Liquidia argued likelihood of success for the wrong decision

          Liquidia has no argument whatsoever that this Court’s decision was wrong and that

   Liquidia is likely to succeed in an appeal from this Court’s decision. Instead, Liquidia argues

   whether the PTAB’s decision was correct. But the issues addressed in the IPR were not litigated

   before this Court and will not be before the Federal Circuit in Liquidia’s appeal of this Court’s

   decision. They are not yet before any court because the PTAB is still considering whether to grant

   rehearing on a potentially dispositive issue. It is irrelevant whether Liquidia is likely to succeed in



   2
     Liquidia could face a lower burden if the other factors “militate in movant’s favor” or the
   irreparable harm to Liquidia is great enough. Id. Because the other factors do not militate in
   Liquidia’s favor and because Liquidia faces no irreparable harm, Liquidia must meet the higher
   standard of proof. But even if a lower standard applies, Liquidia still falls short.


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   an appeal arising from another, separate proceeding, let alone a separate proceeding that is not yet

   final and appealable.3 See, e.g., Mytee Prods. v. Harris Rsch., 2010 WL 11509027, at *2 (S.D. Cal.

   June 25, 2010) (explaining that “the likelihood of success on an appeal from the judgment in this

   case is not increased by a reexamination proceeding before the USPTO that involves different prior

   art. The USPTO may ultimately find the Harris patents invalid but that proceeding is not part of

   the issues on appeal before the Federal Circuit”); see Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1427

   (Fed. Cir. 1988) (“Litigation and reexamination are distinct proceedings, with distinct parties,

   purposes, procedures and outcomes.”); Graff v. City of Chicago, 800 F. Supp. 584, 586-87 (N.D.

   Ill. 1992) (focusing on whether movant was likely to succeed “on the merits of whether this court

   erred”) (emphasis added). Considering that the issues and evidence in the IPR were not presented

   to this Court at trial, Liquidia could not raise them as grounds for reversing this Court’s decision.

   Interactive Gift Express, Inc. v. Compuserve Inc., 256 F. 3d 1323, 1344 (Fed. Cir. 2001) (“The

   Supreme Court has stated that ‘[i]t is the general rule, of course, that a federal appellate court does

   not consider an issue not passed upon below.’”) (quoting Singleton v. Wulff, 428 U.S. 106, 120

   (1976)).

          Nor does Liquidia explain why the Court should assess likelihood of success on appeal in

   this matter based a finding in a separate proceeding that is not currently appealable. Liquidia’s



   3
     UTC identified several flaws in the PTAB’s decision and sought rehearing of a specific, discrete
   legal error given the legal standard for granting rehearing and the procedure’s purpose. See, e.g.,
   Camelbak Prods., LLC v. Ignite USA, LLC, 2016 WL 7047969 at 4 (P.T.A.B. Sept. 30, 2016) (“A
   Request for Rehearing is not an opportunity to express mere disagreement with our Final Written
   Decision or with our weighing of the evidence. The proper course is for Patent Owner to appeal,
   not to file a Request for Rehearing to re-argue issues that already have been considered and
   decided.”) (citing 35 U.S.C. § 319). Presumably, whichever way the PTAB rules following that
   rehearing, then and only then will the non-prevailing party appeal the PTAB ruling to the Federal
   Circuit. As Liquidia’s own motion recognizes, there is no way to project the timing of such a
   decision. See, e.g., D.I. 439 at 9 (noting “a decision from the PTAB has not yet issued,” and “[n]o
   statute or rule establishes a time limit”).


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   sparse caselaw provides no such justification. In Liquidia’s primary case, Standard Havens, the

   Federal Circuit reviewed a stay of the district court’s judgment, entered after a jury verdict, and

   considered whether the movant was likely to succeed in an appeal. 897 F.2d at 514. The court

   discussed a reexamination proceeding only because it involved the same issue to be raised on

   appeal from the district court: obviousness over the very same prior art that was addressed at trial

   and considered by the jury. Id. (identifying Hepburn patent as prior art); Br. for Plaintiff-Appellee,

   Standard Havens Products, Inc. v. Gencor Industries, Inc., 1990 WL 10024018, at *11 (Fed. Cir.

   Feb. 22, 1990) (describing extensive testimony regarding Hepburn patent at trial). Thus, the PTO’s

   decision to institute reexamination based on the Hepburn patent helped to show a likelihood of

   success on appeal based on the Hepburn patent. Here, there is no overlap between the PTAB’s

   decision and this case because at trial Liquidia dropped the arguments it was making in the IPR;

   Liquidia’s post-trial briefing on invalidity does not in any way address the grounds or prior art it

   relied upon before the PTAB in the IPR. See generally D.I. 406, D.I. 415.

          The relevant appeal is the one from this Court’s judgment. Liquidia has given no reason to

   believe it will succeed in this appeal, and it cannot premise success on a potential ruling in a

   different, hypothetical future appeal, which the Federal Circuit will decide, if it comes to fruition,

   at an unknown time.4 By seeking a stay that will last longer than the appeal from this Court’s


   4
     The only argument Liquidia makes for a likelihood of success on appeal of this Court’s decision
   is that an affirmance of the PTAB’s decision would mean Liquidia cannot induce infringement.
   D.I. 439 at 8. This argument also fails. An affirmance of the PTAB’s decision would moot an
   appeal of this Court’s decision, XY, LLC v. Trans Ova Genetics, L.C., 890 F.3d 1282, 1294 (Fed.
   Cir. 2018), but it would not demonstrate error in this Court’s reasoning. There are no overlapping
   issues: the PTAB’s decision does not involve the infringement or § 112 issues considered by this
   Court. “When infringement is the issue, the validity of the patent is not the question to be
   confronted.” Commil USA, LLC v. Cisco Sys., Inc., 575 U.S. 632, 642-43 (2015) (explaining that
   infringement and validity are two separate inquiries). And, as noted above, the PTAB decision
   may be reversed on reconsideration and is not yet on appeal. As such, a later appeal of the PTAB’s
   ruling cannot affect Liquidia’s likelihood of success in the already-pending, earlier appeal in this
   matter.


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   judgment—i.e., a stay until after the future potential appeal from the PTAB is resolved, see D.I.

   438, at 1; D.I. 439, at 1—Liquidia tacitly acknowledges that it has no basis for arguing that the

   PTAB decision will drive the outcome of the appeal from this Court.

                  2.      Liquidia has not made a “strong showing” that it will prevail in the IPR

          Even if the Court were to consider Liquidia’s likelihood of success in any appeal from the

   PTAB’s decision, Liquidia has failed to make the required showing. Liquidia is incorrect regarding

   the PTAB’s supposed alternative bases for finding two critical references to be publicly accessible

   prior art. D.I. 439 at 6. The Board’s statements that two alleged prior art references were

   “published” are insufficient, as references must also be publicly accessible, and public accessibility

   is precisely what was disputed in the PTAB. In re Lister, 583 F.3d 1307, 1311 (Fed. Cir. 2009)

   (“[T]o qualify as a printed publication within the meaning of § 102, a reference ‘must have been

   sufficiently accessible to the public interested in the art.’”). The Board’s reference to “public

   presentation” is likewise not an alternative holding. The Board merely noted Liquidia’s argument

   but did not adopt it.5 D.I. 425-1 (FWD) at 9. Instead, the Board’s decision relies expressly and

   exclusively on two research aids to find public accessibility. Id. at 11-12. Those research aids are

   the subject of UTC’s pending request for rehearing, which points out the flaw in the Board’s

   reliance on research aids from after the § 102(b) critical date to show alleged public accessibility

   before the critical date. D.I. 439, Ex. E at 10, 13-14 (UTC’s Request for Rehearing). And even if

   the Board does not modify its decision in UTC’s favor on rehearing, there are several other grounds




   5
    It is statutorily forbidden for the Board to rely on a “public presentation” as prior art. An IPR
   proceeding can proceed “only on the basis of prior art consisting of patents or printed
   publications,” not public presentations or use. 35 U.S.C. § 311(b).


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   arising out of the arguments in UTC’s Patent Owner Response, Sur-reply, and made at the IPR

   hearing that UTC will raise on appeal.6

          Instead of addressing the merits of the PTAB’s decision and why any predicted UTC

   arguments may not succeed, Liquidia cites statistics that are untethered to the facts of the PTAB’s

   decision on the ’793 patent and therefore irrelevant to Liquidia’s alleged likelihood of success.

   Revolution Eyewear, Inc. v. Aspex Eyewear, Inc., 2009 WL 2047635, at *3 (C.D. Cal. Jul. 8, 2009)

   (“Plaintiff relies on statistics untethered to the facts of this case about the general rate of success

   during reexamination at the PTO. This is unpersuasive.”) (internal record citations omitted).

   Liquidia’s statistics, like its other arguments, fail to make the required showing of likelihood of

   success on appeal from this Court’s judgment and therefore do not justify a stay.

          B.      Liquidia Will Not Be Irreparably Harmed Absent a Stay

          The second factor, whether Liquidia has shown it will be irreparably harmed, also favors

   denying a stay because Liquidia will suffer no irreparable harm even if Liquidia eventually obtains

   final approval for its LIQ861 product before the expiration date of the ’793 patent.

          Liquidia chose to litigate anticipation and obviousness in the IPR and not here. It did so

   knowing that no ’793 patent claims would be canceled until, if ever, the resolution of the appeals

   process. D.I. 433 at 36 (citing, e.g., XY, 890 F.3d at 1294, and 35 U.S.C. § 318(b)). The alleged


   6
     There is no basis to Liquidia’s implication that any UTC appeal to the Federal Circuit would be
   limited to the grounds identified in UTC’s Request for Rehearing. Rehearing requests are wholly
   permissive. 37 CFR § 42.71(d). Requiring all potential grounds for appeal to be exhausted in a
   wholly permissive rehearing petition in order to preserve those issues for appeal would overload
   the PTAB with make-work. See Ex. C, Webster v. Toros, No. 21-5040, slip op. at 7 n.1 (D.C. Cir.
   Sept. 20, 2022) (explaining that parties do not waive appellate arguments by not making them in
   a permissive request for summary affirmance); 35 U.S.C. § 141(c) (“A party to an inter partes
   review ... who is dissatisfied with the final written decision ... may appeal the Board’s decision
   only to the United States Court of Appeals for the Federal Circuit.”); In re Magnum Oil Tools Int’l,
   Ltd., 829 F.3d 1364, 1377 (Fed. Cir. 2016) (“Nowhere does the statute granting parties the right to
   appeal a final written decision in an IPR require that the party first file a request for rehearing
   before the Board[.]”).


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   harm Liquidia identifies—an inability to launch due to this Court’s order to the FDA—is merely

   the operation of the laws carefully crafted by Congress and Liquidia’s election to pursue some of

   its invalidity arguments before the PTAB. 35 U.S.C. § 271(e)(4)(A); Novartis, 2020 WL 8187586,

   at *3-4 (holding that “[f]or the reasons described by [non-movant], fulfilling congressional intent

   will not irreparably harm [the movant],” and agreeing with non-movant that “this alleged harm ‘is

   no different than any other Hatch-Waxman litigation where a patentee wins[,]’ and the ‘normal

   result of a statutory command cannot ... form[ ] the basis of an argument to undo the statute’”).

          Liquidia’s allegation that UTC “controls” (D.I. 439 at 8) the timeline for appeal likewise

   fails to establish irreparable harm because it is both incorrect and irrelevant. Those timelines are

   controlled by the PTAB, the Federal Circuit, and the Federal Rules of Appellate Procedure. UTC

   has no ability to force the PTAB or Federal Circuit to make decisions faster. And even if UTC did

   control the timeline, that would not translate to “irreparable harm.”

          Liquidia’s bald and bold allegation that it will lose goodwill among patients and others is

   nonsensical. Liquidia cannot claim to lose goodwill with customers it does not currently serve for

   a product it does not currently sell. Moreover, Liquidia has announced that it does not expect to be

   able to launch until after appeals, around mid-2024. Ex. B at 1. Thus, not granting a stay is entirely

   consistent with what Liquidia has told its potential customers and cannot constitute loss of

   goodwill.

          Unlike in Standard Havens, where absent a stay the movant would have gone bankrupt and

   possibly “extinct[],” 897 F.2d at 515, Liquidia has assured the public that it has ample resources

   to continue operations into at least 2024. Ex. A at 8-9 (stating that Liquidia’s cash on hand “should

   enable us to get into 2024”). Moreover, Liquidia has other sources of revenue, such as a generic

   version of treprostinil for parenteral administration. Thus, a stay is not necessary to prevent any




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   irreparable harm, and the statutory order barring approval of Liquidia’s infringing product merely

   maintains the status quo.

           C.      UTC Will Be Substantially Injured by a Stay

           By contrast, UTC will be substantially injured if the Court were to stay enforcement of ¶ 4

   of its final judgment. Because the Court found the ’793 patent not invalid and infringed, UTC is

   entitled to an order barring final FDA approval. Staying that order and withholding that statutory

   remedy would harm UTC by allowing Liquidia to launch despite its infringement of the ’793

   patent. See supra § II.A; Sunoco Partners Mktg. & Terminals LP v. Powder Springs Logistics LLC,

   2020 WL 3060458, at *8 (D. Del. Jun. 9, 2020) (finding that plaintiff patent owner “would suffer

   undue prejudice from a stay, which might eliminate [plaintiff]’s opportunity to seek injunctive

   relief,” and because the parties “appear to compete”). Indeed, this Court previously recognized

   that “[i]f I find that the ’793 patent is valid and infringed, UTC is entitled to a non-discretionary

   injunction delaying final FDA approval. … UTC would be prejudiced if I stay my decision and

   withhold this statutory remedy, thus allowing Liquidia to launch its product prior to any resolution

   of the invalidity and infringement issues litigated at trial.” D.I. 432 at 1-2. That decision is law of

   the case. But even if it were not, it is legally and factually correct.

           None of Liquidia’s arguments to the contrary hold water. The degree to which generic entry

   impacted sales of an entirely different product, Remodulin® (treprostinil) Injection, says nothing

   about whether or not Liquidia’s market entry with an infringing product would harm UTC’s sales

   of different products, Tyvaso® and Tyvaso DPI®. This is particularly true where, unlike the generic

   entries into the Remodulin® market, Liquidia has repeatedly stressed that its LIQ861 product is

   not a generic version of UTC’s products. E.g., D.I. 439 at 2 (It “is not a generic version of

   Tyvaso®”); id. at 14 (Liquidia’s product is “not just a generic copy”). Absent ¶ 4 of the final

   judgment, Liquidia would be actively marketing its product despite this Court’s infringement


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   finding. It is a stretch, moreover, to call UTC’s lost sales “speculative” where: (a) UTC already

   has a dry powder inhaled treprostinil product on the market, (b) UTC and Liquidia would compete

   in the inhaled treprostinil market, and (c) Liquidia’s product would be the first inhaled treprostinil

   competitor for UTC’s Tyvaso® and Tyvaso DPI® products. Bonutti Skeletal Innovations, L.L.C. v.

   Zimmer Holdings, Inc., 2014 WL 1369721, at *4 (D. Del. Apr. 7, 2014) (“[C]ourts hesitate to grant

   stays where the parties are direct competitors.”) (citation omitted); Nexans Inc. v. Belden Inc.,

   2014 WL 651913, at *3 (D. Del. Feb. 19, 2014) (when parties are competitors, “there is a

   reasonable chance that delay in adjudicating the alleged infringement will have outsized

   consequences to the party asserting infringement, including the potential for loss of market share

   and an erosion of goodwill.”) (citations and quotations omitted). In fact, Liquidia’s position as

   UTC’s first inhaled treprostinil competitor highlights why UTC would stand to lose market share

   and lose more goodwill than Liquidia, which has not launched any inhaled treprostinil products.7

   As Liquidia acknowledges, “there is no non-UTC inhaled treprostinil therapy on the market

   today.” D.I. 439 at 12. But allowing Liquidia to sell its product could reduce UTC’s market share

   and impact its goodwill. Courts have found those factors to constitute substantial injury to the

   patent holder. E.g.,. Endo Pharms., 2016 WL 1732751, at *5-8 (finding that presence in the market

   causing lost market share, profits, and goodwill supported irreparable harm and substantial injury

   supporting denial of stay).

          D.      The Public Interest Favors Denying a Stay

          The public interest also favors denying Liquidia’s request for a stay. Initially, the public



   7
     Liquidia’s arguments regarding UTC’s allegedly improper efforts to provide co-pay assistance
   to a non-profit are irrelevant and a blatant attempt to malign UTC. UTC disputes Liquidia’s
   description of the investigation. It is also a bizarre allegation given that the purportedly improper
   charitable donations were made when Liquidia’s current CEO, Roger Jeffs, was co-CEO at UTC
   and oversaw business operations.


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   has an interest in enforcement of the law and patent rights. See, e.g., Honeywell Int’l, Inc. v.

   Universal Avionics Sys. Corp., 397 F.Supp.2d 537, 550 (D. Del. 2005) (“[T]he public interest lies

   in protecting patent rights through the grant of injunctive relief so inventors have incentive to

   create.”); id. at 547 (“Granting injunctive relief protects the value of the patent, and allows the

   public to garner the attendant benefits.”). Section 271(e)(4)(A) was the result of careful

   deliberation and balancing of the various interests of drug innovators, makers of follow-on

   products (whether generic ANDA holders or 505(b)(2) applicants), and the public. Janssen, 540

   F.3d at 1361; Abbott Labs. v. Sandoz, Inc., 544 F.3d 1341, 1363 (Fed. Cir. 2008) (“The patent laws

   promote … progress by offering a right of exclusion for a limited period as an incentive to

   inventors to risk the often enormous costs in terms of time, research, and development.”) (citation

   omitted); Novartis, 2020 WL 8187586, at *4 (“nor would it be in the public’s interest to change

   the ‘careful balance’ created by Congress, which includes entrusting enforcement of final

   judgments to the FDA”); id. at *2 (“I would undermine congressional intent and the public interest

   were I to grant [movant’s] motion [to stay]”). The public interest favors following Congress’s

   instructions and imposing a stay pursuant to § 271(e)(4)(A).

          There is no public interest that would be satisfied by allowing Liquidia to avoid the

   statutory remedy resulting from this Court’s decision finding the ’793 patent valid and infringed.

   Liquidia’s citation to an article written by its testifying expert, Dr. Hill, does not establish any

   public interest in its product, as the article compares Liquidia’s product only to the inhaled solution

   form of Tyvaso® and prostacyclin naïve patients on non-prostacyclin oral therapies. D.I. 439, Ex.

   O at *1 (describing patients that “transitioned to Yutrepia from nebulized treprostinil (Transition)

   or added Yutrepia to prostacyclin naïve patients on ≤2 nonprostacyclin oral therapies.”). The

   article does not compare Liquidia’s product to UTC’s dry powder inhaled product, Tyvaso DPI®.




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   As mentioned above, Tyvaso DPI® has launched, and patients have access to an inhaled dry

   powder formulation of treprostinil and the benefit of a small, portable, unpowered inhaler, and

   administration of a dose in one breath. Ex. D (Tyvaso DPI® web site). Moreover, Liquidia provides

   no basis to believe that the reasons the email authors (D.I. 439, Exs. Q, Y, Z) desire Liquidia’s

   product are not already satisfied by Tyvaso DPI®. Nor is there any evidence Liquidia’s product

   would “save lives,” as there are several drugs for the treatment of PAH already on the market,

   including Remodulin® and generic forms thereof, Orenitram®, Tyvaso®, and Tyvaso DPI®.8

   Simply put, there are a number of available treprostinil therapies already available to patients, and

   the public interest is well served by the Court’s Order, which implements Congressional intent and

   orders Liquidia’s approval date to be no earlier than the expiration of the ’793 patent.

   IV.    CONCLUSION

          For the reasons above, the Court should deny Liquidia’s requested Rule 62 stay.




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     Even if it did, there is still a public interest in patent enforcement. Eli Lilly & Co. v. Medtronic,
   Inc., 1988 WL 281578, at *12 (E.D. Pa. Apr. 15, 1988) (concluding that the public interest weighs
   in favor of the right to exclude even for patents on lifesaving products such as heart defibrillators).


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 23, 2022, I caused the foregoing to be electronically

   filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

   registered participants.

          I further certify that I caused copies of the foregoing document to be served on September

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